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                        ORDINANCES
                                                             OF THE




           Mayor, Aldermen and Commonalty

                                                             OF THE




                       CITY OF NEW YORK,
                                     IN FORCE JANUARY 1, 1881;



                                                         REVISED BY


                             * . , No.
                               *C.                       V
            ELLIOTT F. SHEPARD AND EBENEZER                                               B.   SHAFER,


                              COMMISSIONERSAPPOINTED FOR THAT PURPOSE.




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                                             Nos.        AND          PARK PLACE.

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                       214             MISCELLANEOUS    ORDINANCES.


         Surplus.        SEC. 260. The surplus money, if any, arising from any
                       such    sale, after deducting the amount of the loan, the
                       interest then due on the same, and the expenses of the
                       advertisement and sale, shall be paid over by the
                       pawnbroker, loanbroker, or keeper of a loan office, to
                       the person who would be entitled to redeem the pledge
                       in case no such sale had taken place.
         Regulations
                         SEC. 261. No pawnbroker, loanbroker or keeper of a
                       loan office shall make any loan on the separate or
                       divided part or parts of any one article or thing, and
                       which article or thing shall have been offered entire or
                       collectively to him or her by way of pawn or pledge.

         Ibid.           SEC. 262.   No pawnbroker, loanbroker, or keeper of
                       a loan office, shall, under any pretense whatever, pur
                       chase  or buy any second-hand       furniture, metals or
                       clothes, or any other article or thing whatever, offered
                       to him or her as a pawn or pledge.

         Penalties.      SEC. 263.   Every pawnbroker, loanbroker, or keeper
                       of a loan office, who shall violate or neglect or refuse
                       to comply with any or either of the provisions of
                       sections of this article shall, for every such offense,
                       forfeit and pay the sum of one hundred dollars.


                                            ARTICLE    XXVII.
                                           Carrying of Pistols.

         Concealed       SEC. 264.   Every person, except judges of the federal,
         weapons.
                       state and city courts, and officers   of the general, state
                       and municipal governments,      authorized by law to make
                       arrests, and persons to whom permits shall have been
                       issued, as hereinafter provided, who shall have in his
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                                MISCELLANEOUS            ORDINANCES.                       215


             possession within the city of New York a pistol of any
             description concealed on his person, or not carried
             openly, shall be deemed guilty of a misdemeanor, and
             shall be punished, on conviction, by a fine not exceed
             ing ten dollars, or, in default of payment of such                          fine,
             by imprisonment not exceeding ten days.

               SEC. 265.   Any          person,    except      as
             article, who has occasion to carry a pistol for his pro
                                                                    provided         in this        #.
             tection, may apply to the officer in command at the
             station-house of the precinct where he resides, and such
             officer, if satisfied that the applicant is a proper and
             law-abiding       person,        shall give said person a recom
             mendation to the                superintendent of police, or the
             inspector in command                  at the      central office in the
             absence of the superintendent, who shall issue                          a   per
             mit to the said person, allowing him to carry a pistol
             of any description. Any non-resident who does busi
             ness in the city of New York, and has occasion to carry
             a pistol while in said city, must                 make application for
             permission to do so to the officer in command                            of the
             station-house of the police precinct in which he so
             does business, in the same manner as is required by
             residents of said city, and shall be subject to the same
             conditions and restrictions.


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               SEC. 266.                the time
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             description shall
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                                             found concealed             the person                 weapons.

               not carried openly by any one arrested, the officer
              or




             making the arrest shall state such fact   the police
                                                                            to




             magistrate before whom the prisoner      brought, and
                                                                       is




             shall make   separate complaint against such prisoner
                           a




                                    the provisions
                               of




             for violation                                     this article.
                                                          of
Case 1:22-cv-00986-GTS-CFH Document 49-19 Filed 10/13/22 Page 4 of 4




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                       216             MISCELLANEOUS    ORDINANCES.


           ºn
           of permis     SEC. 267. The commissioners       of police of the police
                       department of the city of New York are hereby author
                       ized and empowered, for reasons appearing to be
                       satisfactory to them, by a vote of a majority of a
                       quorum of said commissioners   on ayes and noes, to
                       annul or revoke any permission given under this article.
                       All persons to whom such permission shall be given are
                       hereby declared to be individually responsible for their
                       own acts, or the consequences  that may arise from the
                       use of  pistols  carried under the permission to be
                       obtained as provided in this article.



                                            ARTICLE    XXVIII.

                       Snow-ploughs and Sweeping-machines        by Railroad Com
                              panies and others in the City of New York.

           Snow-
           ploughs.
                         SEC. 268.   It shall not be - lawful- for any or either - of
                       the street or horse-car railroads     or stage companies,
                       proprietors or corporations, within the limits of the

           i.;         city of New York, or their officers, agents or servants,
                       to cause or allow any snow-plough, sweeping-machine
                       or other similar instrument to pass over the tracks or
                       lines occupied or used by them within the said limits,
                       unless by the express permission in that behalf to be
                       granted to them by the mayor.

           Fines.        SEC. 269. Any of the said companies, proprietors or
                       corporations who shall violate the provisions of the
                       above section, shall be punished by a fine not exceed
                       ing one hundred dollars for each offense, and the offi
                       cers, agents or servants of such companies, proprietors

                       or corporations who shall violate the said provisions
